     Case 7:20-cv-00720-KOB-GMB Document 27 Filed 03/08/22 Page 1 of 2                   FILED
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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION

EDDIE LEE TUCKER,                         )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )   Case No. 7:20-cv-00720-KOB-GMB
                                          )
WARDEN JIMMY THOMAS, et al.,              )
                                          )
       Defendants.                        )

                          MEMORANDUM OPINION

      Plaintiff Eddie Lee Tucker filed a pro se complaint and amended pursuant to

42 U.S.C. § 1983 alleging violations of his rights under the Constitution or laws of

the United States. (Docs. 1 & 12). On February 10, 2022, the Magistrate Judge

entered a report recommending that the court deny the defendants’ motion to dismiss

under 42 U.S.C. § 1997e(a) based on Tucker’s failure to exhaust administrative

remedies but grant the defendants’ motion for summary judgment. (Doc. 24).

      The Clerk mailed the report and recommendation to Tucker at Staton

Correctional Facility’s post office box.      After the mailing was returned as

undeliverable, (Doc. 25), the Clerk mailed another copy of the report and

recommendation to Tucker at Staton Correctional Facility’s physical address.

Because Tucker did not receive the report and recommendation in sufficient time to

file timely objections, the Magistrate Judge extended Tucker’s deadline for filing
     Case 7:20-cv-00720-KOB-GMB Document 27 Filed 03/08/22 Page 2 of 2




objections to February 21, 2022. (Doc. 26 at 2). The court has not received

objections within the prescribed time.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the court ADOPTS the

Magistrate Judge’s report and ACCEPTS his recommendation. Accordingly, the

defendants’ motion to dismiss under 42 U.S.C. § 1997e(a) based on Tucker’s failure

to exhaust administrative remedies is due to be denied. The defendants’ motion for

summary judgment is due to be granted, the court finding no genuine issues of

material fact exist.

      The court will enter a separate Final Judgment.

      DONE and ORDERED this 8th day of March, 2022.




                                         ____________________________________
                                         KARON OWEN BOWDRE
                                         UNITED STATES DISTRICT JUDGE




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